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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                               CASE NO.:

  AISHIA PETERSEN,

         Plaintiff,

  v.

  DOONEY & BOURKE INC.,

        Defendant.
  __________________________________/

                          COMPLAINT FOR INJUNCTIVE RELIEF


         COMES NOW, Plaintiff Aishia Petersen (“Plaintiff “or “Petersen”), by and through

  undersigned counsel, files this Complaint and sues Defendant, DOONEY & BOURKE INC,

  for Permanent Injunctive Relief pursuant to Title III of the Americans with Disabilities Act of

  1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”), 28 U.S.C. §2201 and 2202 as well as

  28 CFR Part 36 Regulations. Plaintiff state as follows:



                                        INTRODUCTION

         1. This Court has jurisdiction over this case based on federal question jurisdiction, as

  provided in 28 U.S.C. §1331 and the provisions of the Americans with Disabilities Act,

  (hereinafter, “ADA”).

         2. Plaintiff is a visually impaired and legally blind person (disabled) who requires

  assistance through screen-reading to navigate and communicate with business through the

  internet and its innumerous applications using her browser in her mobile phone. Plaintiff uses




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  the term “blind” or “visually impaired” as legally blind. Disable as defined by ADA and

  Amendment acts of 2008, 42 USC §12101 (ADAAA).

         3.Plaintiff brings this action against Defendant for providing a digital business mobile

  application (running on mobile devices such as Iphone) that is not fully accessible usable by

  visually impaired consumers. The mobile application at issue is available to customers for

  download on customers mobile phones (“mobile app”).

         4. Defendant developed the mobile app and had an option during development to make

  fully accessible to screen-readers, but opted not to do so. Accessibility is an optional feature in

  mobile app development. Iphone (Apple) platform offers developers accessibility tools to aid

  them in creating an accessible user experience for all users, including those with a disability or

  impairment.

         5. The Defendant distributes its mobile application to millions of customers through their

  phone in the App store for iPhones.

         6. Defendant offers its mobile app to the general public from which it sells a variety of

  fashion accessories and handbags. Consumers require the ability to purchase goods and services

  anytime and from anywhere, even on the go. Defendant’s mobile app allows mobile device users

  to shop on a mobile platform through an internet connection to Wi-Fi or cellular data so that

  users can make purchases, locate stores, and explore product offerings on the go.

         7. Defendant has subjected itself to the ADA because Defendant’s app is offered as a

  tool to communicate between the business and consumers to sell its products from its brick and

  mortar stores, which are places of public accommodation. As a result, the app must interact with

  Defendant’s stores and the public, and in doing so must comply with the ADA, which means it




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  must not discriminate against individuals with disabilities and may not deny full and equal

  enjoyment of the goods and services afforded to the general public.

         8. In the statutory text, Congress determined that "individuals with disabilities

  continually encounter various forms of discrimination," including "communication barriers". 42

  U.S.C. § 12182(a).

         9. Blind and visually impaired consumers must use the assistive technology on the

  mobile phone to access business mobile app content. The mobile app must be designed and

  programmed to work with the assistive Accessibility feature available on the Apple IPhones, and

  Android phone (Google and Samsung). Defendant’s mobile application, however, contains

  digital barriers which limit the ability of blind and visually impaired consumers to access it.

         10. Defendant’s mobile application is not fully or equally accessible to blind or visually

  impaired consumers in violation of the “ADA.” As a result, Plaintiff seeks a permanent

  injunction to cause a change in DOONEY & BOURKE INC. (“Defendant” or “DOONEY &

  BOURKE”) policies, practices and procedures so that Defendant’s mobile application will

  become, and remain, accessible to blind. Plaintiff seeks injunctive relief, attorneys’ fees and

  costs, including, but not limited to, court costs and expert fees, pursuant to Title III of the

  Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”) and

  42 U.S.C. 2000a-3(a). See also 28 U.S.C. 2201 and 2202 as well as ADA 28 CFR Part 36

  Regulations.

         11. Throughout the ADA, "auxiliary aids and services" refers to techniques and devices

  to overcome barriers in communicating with people who have visual and hearing impairments,

  among other things. See 42 U.S.C. 12103(1).




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         12. Implementing these provisions, see 42 U.S.C. § 12186(b), the Attorney General's

  Title III regulations require public accommodations to "furnish appropriate auxiliary aids and

  services where necessary to ensure effective communication with individuals with disabilities."

  28 C.F.R. § 36.303(c)(1). The regulations specifically list "screen reader software,"

  "magnification software," and "accessible electronic and information technology" as among the

  auxiliary aids that the statute requires. 28 C.F.R. § 36.303(b)(2).

         13. Plaintiff is sui juris, and he is disabled as defined by the ADA and ADA

  Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”). Defendant’s failure to design,

  construct, maintain, and operate its mobile application to be fully and equally accessible to and

  independently usable by Plaintiff, constitutes in Defendant’s denial of full and equal access to its

  mobile app, and therefore denial of its products and services offered thereby in conjunction with

  its physical location(s), resulting in a violation of Plaintiff’s rights under the Americans with

  Disabilities Act (“ADA”).

         14. Defendant owns and operates the mobile e-commerce application and several

  DOONEY & BOURKE’s stores that are located in Florida.

         15. This case arises out of the fact that Defendant DOONEY & BOURKE has operated

  its business in a manner and way that effectively excluding individuals who are visually

  impaired from access to Defendant mobile e-commerce application based upon Defendant’s

  failure to provide auxiliary aids and services for effective communications.

         16. Plaintiff seeks injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.

         17. Plaintiff, a legally blind person, is impeded to access and communicate with

  Defendant effectively and timely such that allowing access to Defendant’s various business




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  locations; as such impediment as rendered Defendant’s physical places of accommodation not

  fully accessible to the visually impaired.

         18. Plaintiff has downloaded and attempted to patronize Defendant’s mobile application

  in the past and intends to continue to make further attempts to patronize Defendant’s mobile

  app. Plaintiff would like to pre-shop Defendant’s merchandise and learn about sales or discounts

  before going to Defendant’s brick and mortar location. However, unless Defendant is required to

  eliminate the access barriers at issue and required to change its policies so that access barriers do

  not reoccur on Defendant’s app, Plaintiff will continue to be denied full and equal access to the

  app as described and will be deterred from fully using Defendant’s app or shopping at the

  physical locations.

         19. Plaintiff continues to attempt to utilize the Defendant’s mobile app and plans to

  continue to attempt to utilize the app in the near future for upcoming holidays and general

  purchase.

         20. Plaintiff has suffered, and continues to suffer, frustration and humiliation as the result

  of the discriminatory conditions present at Defendant’s mobile application. By continuing to

  operate its mobile app with discriminatory conditions, Defendant contributes to Plaintiff’s sense

  of isolation and segregation and deprives Plaintiff the full and equal enjoyment of the goods,

  services, facilities, privileges and/or accommodations available to the general public. Plaintiff is

  deprived of the meaningful choice of freely visiting and utilizing the same accommodations

  readily available to the general public and is deterred and discouraged from doing so. By

  maintaining an app with violations, Defendant deprives Plaintiff the equality of opportunity

  offered to the general public.




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         21. Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

  of the Defendant’s discrimination until the Defendant is compelled to comply with the

  requirements of the ADA.

         22. However, unless Defendant is required to eliminate the access barriers at issue and

  required to change its policies so that access barriers do not reoccur on Defendant’s mobile e-

  commerce application, Plaintiff will continue to be denied full access and discriminated.

                                   JURISDICTION AND VENUE

         23. This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and 42

  U.S.C. § 12188.

         24. Plaintiff’s claims asserted herein arose in this judicial district and Defendant does

  substantial business in this judicial district where it has multiple physical locations.

         25. Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(1) and (2) in that

  this is the judicial district in which Defendant resides, and in which a substantial part of the acts

  and omissions giving rise to the claims occurred.

         26. Defendant is subject to personal jurisdiction in this District. Defendant has been and

  is committing the acts or omissions alleged herein in the Southern District of Florida that caused

  injury, and violated rights prescribed by the ADA to Plaintiff. This Court has personal

  jurisdiction over DOONEY & BOURKE, pursuant to, inter alia, Florida’s long arm statute F.S.

  § 48.193, a substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred in

  the Southern District of Florida. Specifically, on several separate occasions, Plaintiff has been

  denied the full use and enjoyment of the facilities, goods, and services of Defendant’s mobile

  app in Florida. The access barriers Plaintiff encountered on Defendant’s mobile app have caused

  a denial of Plaintiff’s full and equal access multiple times in the past, and now deter Plaintiff on




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  a regular basis from accessing Defendant’s mobile app. Plaintiff would like to become

  Defendant’s patron and access the Defendant’s mobile app in the near future but the barriers

  Plaintiff encountered on Defendant’s mobile app have impeded Plaintiff’s full and equal

  enjoyment of goods and services offered at Defendant’s brick-and mortar stores. Defendant

  DOONEY & BOURKE is authorized to conduct, and is conducting, business within the State of

  Florida and within the jurisdiction of this court.

                                               PARTIES

         27. Plaintiff, Aishia Petersen, is and, at all times relevant hereto, is an Orlando, Florida

  resident. Plaintiff is and, at all times relevant hereto, has been legally blind and is therefore a

  member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations

  implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

         28. Petersen is legally blind, and a member of a protected class under the ADA.

  Whereby, she has a disability within the meaning of 42 U.S.C. § 12102(1)-(2), the regulations

  implementing the ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h).

  Plaintiff was diagnosed with congenital glaucoma in both eyes by UM Health- Bascom Palmer

  Eye Institute, and consequently, is legally blind and the visual disability is permanent. Plaintiff

  is a legally blind individual who has a physical impairment that substantially limits the major

  life activity of seeing. Accordingly, she has a disability within the meaning of 42 U.S.C. §

  12102 and 28 C.F.R. § 35.104. Plaintiff is a qualified individual with a disability within the

  meaning of 42 U.S.C. § 12131(2), 29 U.S. Code § 794 and 28 C.F.R. § 35.104.

         29. Defendant DOONEY & BOURKE owns, operates and maintains multiple stores

  called DOONEY & BOURKE, within the Southern District of Florida, either through

  franchisees, affiliates, partners or other entities. Defendant’s store sells DOONEY & BOURKE




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  handbags and accessories to the public. Defendant also offers those items to the public through

  its mobile app. Defendant’s store and accompanying mobile app work collectively and are

  public accommodations pursuant to 42 U.S.C. § 12181(7)(E).

                                             FACTS

         30. Defendant is defined as a “Place of Public Accommodation" within meaning of Title

  III because Defendant is a private entity which owns and/or operates “[A] bakery, grocery store,

  clothing store, hardware store, shopping center, or other sales establishment,” 42 U.S.C.

  §12181(7)(E) and 28 C.F.R. §36.104(5).

         31. Each of Defendant DOONEY & BOURKE’s stores are open to the public and each is

  a Place of Public Accommodation subject to the requirements of Title III of the ADA and its

  implementing regulation as “[A] … other sales establishment,” as defined by 42 U.S.C.

  §12181(7)(E); §12182, and 28 C.F.R. Part 36.

         32. DOONEY & BOURKE’s stores offer for sale to the general public fashion

  accessories and handbags.

         33. Defendant’s mobile application is offered by Defendant as a way for the public to

  communicate with DOONEY & BOURKE merchandise. Defendant’s mobile app also permits

  the general public to order and purchase casual clothihandbags, provides information about its

  products, and (among other things) provides: customer service, locate stores, create an account,

  purchase handbags.

         34. A mobile app is a program that is downloaded and installed onto a user's mobile

  device, whereas a website is a site (place) on the internet where users visit it. The mobile

  application is saved on the smartphone, and in most cases an internet connection is optional in

  order to work. Both are ways of digital communication between the business and the users. A




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  mobile app remains on the user's smartphone and is therefore ideal for frequent and repeated

  communication. Mobile app push notifications are small messages that pop up in a user's status

  bar to let them know about an upcoming deal, reminders, and more. Push notifications are very

  convenient way successful way for business to reach and monetize their customers.

         35. A blind person may give permission or consent to geolocation, push notifications and

  user’s data sharing to third party if the mobile application is accessible to screen-reader (audio

  voice unable).

         36. The mobile application is an integral part of the goods and services offered by

  Defendant’s store, because Defendant’s mobile app and its physical stores are heavily

  integrated, since the mobile application allows the public the ability to locate Defendant’s stores,

  retail locations and sells merchandise.

         37. The mobile application is an extension of defendant’s physical stores. By this nexus,

  between the store and the mobile application is characterized as a Place of Public

  Accommodation pursuant to Title III, 42 U.S.C. §12181(7)(E) of the ADA.

         38. Defendant has control over its mobile application content, design and source-code.

  Defendant’s mobile app has a nexus to a place of public accommodation pursuant to 42 U.S.C. §

  12181(7)(E). Therefore, under the ADA, Defendant must ensure that individuals with

  disabilities have access to full and equal enjoyment of the goods and services offered on its app.

         39.Blind and visually impaired individuals may access mobile apps by using

  accessibility features in conjunction with screen reader software that converts text to audio.

  Screen reader software provides the primary method by which a visually impaired person may

  independently use the internet. Unless the app is developed and designed with Accessibility




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  features to be accessed with screen reader software, visually impaired individuals are unable to

  fully access app and the information, products, and services available through the app.

         40. There are specific guidelines in place endorsed by the US Department of Justice in

  numerous U.S. District Courts. The international internet standards organization, W3C, has

  published WCAG 2.1 A (Web and mobile Content Accessibility Guidelines). WCAG 2.1

  provides widely accepted guidelines for making mobile apps accessible to individuals with

  disabilities and compatible with screen reader software.

         41. Plaintiff is legally blind and uses an Iphone that comes with “Voiceover” and

  Android “Talkback” screen reader (audio) feature in order to access internet mobile

  applications’ content. Plaintiff’s software is the most popular screen reader software utilized

  worldwide by visually impaired individuals for mobile phones.

         42. Despite attempts, Defendant’s mobile app did not fully integrate with Plaintiff’s

  mobile phone Accessibility screen-reader, nor was there any function within the app to permit

  access for visually impaired individuals through other means. Her shopping attempts were

  rendered futile because the app was inaccessible. Therefore, Plaintiff was denied the full use and

  enjoyment of the goods and services available on Defendant’s app as a result of access barriers

  on the mobile app. For example, product image description of most several images are numbers

  or unavailable; touch target is too small, poor contrast; checkout bag on top left audio is “button

  lock”; blind user cannot delete an item in the bag; women sub-menu text have no audio (focus is

  in entire page and not individual); some banners and images have no readable label; scroll down

  is defective; thus multiple clickable items share same location (focus) in the screen adding to

  confusion and inaccessibility.




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         43. Defendant’s mobile application does not meet the WCAG 2.1 A level of

  accessibility. The mobile application should be accessible by keyboard only (no mouse or other

  pointing device). Video without accessible controls. Multiple issues were found including:

  submits a form with errors then the error message(s) is visually displayed but is neither

  announced nor given keyboard-focus; mobile app buttons do not have the proper roles and are

  not accessible to “Voiceover”(Iphone) and “Talkback” (Android phone).

         44. By failing to adequately design and program its mobile application to accurately and

  sufficiently integrate with mobile screen-readers, Defendant has discriminated against Plaintiff

  and others with visual impairments on the basis of a disability by denying them full and equal

  enjoyment of the app, in violation of 42 U.S.C. § 12182(a) and C.F.R. § 36.201.

         45. As a result of Defendant’s discrimination, Plaintiff was unable to use Defendant’s

  mobile application and suffered an injury in fact including loss of dignity, discrimination, and

  other tangible and intangible injuries.

         46. The barriers on the mobile application have caused a denial of Plaintiff’s full and

  equal access multiple times in the past, and now deter Plaintiff from attempting to use

  Defendant’s mobile app.

                             AMERICAN WITH DISABILITIES ACT

         47. The failure to access the information needed precluded Plaintiff’s ability to patronize

  DOONEY & BOURKE’s stores because, as a blind individual, Plaintiff needs to plan her

  outings out in detail in order to have the proper financing for a venture, and insure that she

  arrives at a given location.

         48. Technology evolves, in these days, consumers are doing most of their shopping

  online. Defendant’s provision of an e-commerce mobile application is an essential part of the




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  services offered and is no different than the customer service to the public as part of DOONEY

  & BOURKE’s stores services, privileges and benefit to the public.

          49. Title III ADA Part 36 regulation was amended to integrate section 36.303 Auxiliary

  Aids and Services “A public accommodation shall furnish appropriate auxiliary aids and

  services where necessary to ensure effective communication with individuals with disabilities.”

           50. By this nexus, the Defendant’s mobile application is characterized as an intangible

  service, privilege and advantage provided by DOONEY & BOURKE’s stores a Place of Public

  Accommodation as defined under the ADA, and thus its mobile application is an extension of

  DOONEY & BOURKE’s services, privileges and advantages made available to the general

  public by Defendant through its retail brick and mortar stores.

          51. All Public Accommodations must ensure that their Places of Public Accommodation

  provide Effective Communication for all members of the general public, including individuals

  with disabilities. Binding case law increasingly recognize that private entities are providing

  goods and services to the public through the mobile application that operate as “Places of Public

  Accommodation” under Title III.

          52. A person who cannot see, like the Plaintiff in this case, cannot go to Defendant’s

  mobile app and avail themselves of the same privileges. Thus, the Plaintiff has suffered

  discrimination due to Defendant’s failure to provide a reasonable accommodation for Plaintiff’s

  disability.

          53. Notice to Defendant is not required as a result of Defendant’s failure to cure the

  violations.

          54. Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§ 2201 and 2202 and Title III ADA Subpart E Section 36.501.




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         55. Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

  includes, among other things: a failure to make reasonable modifications in policies, practices or

  procedures, when such modifications are necessary to afford such goods, services, facilities,

  privileges, advantages or accommodations to individuals with disabilities, unless the entity can

  demonstrate that making such modifications would fundamentally alter the nature of such

  goods, services, facilities, privileges, advantages or accommodations; and a failure to take such

  steps as may be necessary to ensure that no individual with a disability is excluded, denied

  services, segregated or otherwise treated differently than other individuals because of the

  absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps

  would fundamentally alter the nature of good, service, facility, privilege, advantage or

  accommodation being offered or would result in an undue burden. 42U.S.C. §

  12182(b)(2)(A)(ii) (iii); see also 28 C.F.R. § 36.303(a). Title III requires that “[a] public

  accommodation shall furnish appropriate auxiliary aids and services where necessary to ensure

  effective communication with individuals with disabilities.” 28 C.F.R. § 36.303(c)(1). The

  regulations set forth numerous examples of “auxiliary aids          and    services,”   including

  “…accessible electronic and information technology; or other effective methods of making

  visually delivered materials available to individuals who are blind or have low vision.” 28

  C.F.R. § 36.303(b).

       COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         56. Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  Public Accommodations and requires Places of Public Accommodation to be designed,




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  constructed, and altered in compliance with the accessibility standards established by Part 36

  Regulation.

          57. The acts alleged herein constitute violations of Title III of the ADA, and the

  regulations promulgated thereunder. Plaintiff, who is legally blind and has a disability that

  substantially limits the major life activity of seeing within the meaning of 42 U.S.C.

  §§12102(1)(A) and (2)(A), has been denied full and equal access to Defendant’s app. Plaintiff

  has not been afforded the goods, services, privileges and advantages that are provided to other

  patrons who are not disabled, and/or has been provided goods, services, privileges and

  advantages that are inferior to those provided to non-disabled persons. These violations are

  ongoing as Defendant has failed to make any prompt and equitable changes to its app and

  policies in order to remedy its discriminatory conduct.

         58. Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove and this suit for injunctive relief is her only means to secure adequate

  redress from Defendant’s unlawful and discriminatory practices.

         59. Unlawful discrimination includes “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.” 42 U.S.C.

  § 12182(b)(2)(A)(II).

         60. Unlawful discrimination also includes “a failure to take such steps as may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated

  or otherwise treated differently than other individuals because of the absence of auxiliary aids




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  and services, unless the entity can demonstrate that taking such steps would fundamentally alter

  the nature of the good, service, facility, privilege, advantage, or accommodation being offered or

  would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(III).

         61. Defendant is in violation of the ADA by creating barriers for individuals with

  disabilities who are visually impaired and who require the assistance of interface with screen

  reader software to comprehend and access digital mobile applications. These violations are

  ongoing.

         62. Plaintiff has retained the law office of Acacia Barros, Esq. and has agreed to pay a

  reasonable fee for services in the prosecution of this cause, including costs and expenses

  incurred. Plaintiff is entitled to have reasonable attorneys’ fees, costs and expenses paid by

  Defendant DOONEY & BOURKE.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Aishia Petersen hereby prays judgment against Defendant

  DOONEY & BOURKE INC. and requests the following injunctive relief permanently enjoin

  Defendant from any practice, policy and/or procedure which will deny Plaintiff equal access to,

  and benefit from Defendant’s services and goods, as well as the Court:

  a. A Declaratory Judgment that at the commencement of this action Defendant was in violation

  of the specific requirements of Title III of the ADA described above, and the relevant

  implementing regulations of the ADA, in that Defendant took no action that was reasonably

  calculated to ensure that its mobile application is fully accessible to, and independently usable

  by, blind individuals;

  b. A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504(a) which

  directs Defendant to take all steps necessary to brings its app into full compliance with the




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  requirements set forth in the ADA, and its implementing regulations, so that its app is fully

  accessible to, and independently usable by, blind individuals, and which further directs that the

  Court shall retain jurisdiction for a period to be determined to ensure that Defendant has adopted

  and is following an institutional policy that will in fact cause Defendant to remain fully in

  compliance with the law;

  c. That the Court enter an Order directing Defendants to continually update and maintain their

  mobile application to ensure that it remains fully accessible to and usable by visually impaired

  individuals;

  d. That the Court enter an award of attorney’s fees, costs and litigation expenses pursuant to 42

  U.S.C. § 12205; and Title III of the ADA Section § 36.505, and

  e. The provision of whatever other relief the Court deems just, equitable and appropriate.

  Dated this 3rd day of December 2020.

                                                s/Acacia Barros
                                                Attorney for Plaintiff
                                                ACACIA BARROS, P.A.
                                                Acacia Barros, Esq.
                                                FBN: 106277
                                                11120 N. Kendall Dr., Suite 201
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                                   CERTIFICATE OF SERVICE

                 I hereby certify that on this 3rd day of December 2020 that the foregoing document

  has been filed using CM/ECF system and will           be     served     via      email       when

  Defendant/Defendant’s counsel enters an appearance.

                                                 /s/Acacia Barros
                                                 Attorney for Plaintiff
                                                ACACIA BARROS, P.A.




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